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1    Malcolm Segal (SBN 075481)
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2
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4    Telephone: (916) 441-0886
5    Facsimile: (916) 475-1231
     msegal@segal-pc.com
6    edoringer@segal-pc.com
7
     Attorneys for Defendant
8    RAY KORNFELD
9
                              UNITED STATES DISTRICT COURT
10
                            EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,                     Case No: 2:12–cr-00362 TLN
13
                      Plaintiff,                   STIPULATION AND ORDER
14                                                 CONTINUING JUDGMENT AND
     v.                                            SENTENCING
15

16   RAY KORNFELD,
17
                      Defendant.
18

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20           The defendant, RAY KORNFELD, through his counsel of record, Malcolm
21   Segal, Segal & Associates, PC, and plaintiff United States of America, through its
22   counsel, Assistant United States Attorney Philip Ferrari and Special Assistant
23   United States Attorney Maggy Krell, agree and stipulate that, in order to permit
24   newly retained counsel for the defendant (1) time to review the discovery received
25   from previous counsel and (2) to review the information and materials supplied by
26   the defendant and previous counsel to the United States probation Officer and
27   submit any additional materials, the Judgment and Sentencing currently set for
28
                                                    1
                        Stipulation and Order Continuing Judgment and Sentencing
       Case 2:12-cr-00362-TLN Document 165 Filed 11/05/14 Page 2 of 3


1    December 11, 2014 may be continued until January 22, 2015 may be continued
2    to January 22, 2015 at 9:30 a.m. in accordance with the following schedule:
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4          Judgment and Sentencing Date:                             January 22, 2015;

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           Reply or Statement of Non-Opposition:                     January 15, 2015;
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7
           Motion for Correction of the Presentence Report:          January 8, 2015;
8

9          Presentence Report filed:                                 December31, 2014;
10

11         Written Objections to the Presentence Report:             December 11, 2014;

12
           Presentence Report Shall be Disclosed to Counsel:         December 24, 2014.
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           IT IS SO STIPULATED.
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                                              Respectfully submitted,
16
                                              SEGAL & ASSOCIATES, PC
17

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19   Dated: October 30, 2014              By: /s/ Malcom Segal
                                             MALCOLM SEGAL
20
                                             Attorneys for Defendant
21                                           RAY KORNFELD

22

23   Dated: October 30, 2014           By:    BENJAMIN B. WAGNER
                                              United States Attorney
24                                            /s/ Philip Ferrari
                                              PHILIP FERRARI
25                                            Assistant United States Attorney (per
26                                            authorization)

27

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                                                   2
                       Stipulation and Order Continuing Judgment and Sentencing
       Case 2:12-cr-00362-TLN Document 165 Filed 11/05/14 Page 3 of 3


1    Dated: October 30, 2014            By:    /s/ Maggy Krell
                                               MAGGY KRELL
2
                                               Special Assistant United States Attorney
3                                              (per authorization)
4

5

6                                              ORDER

7          UPON GOOD CAUSE SHOWN and on the stipulation of all parties, it is

8    Ordered that the Judgment and Sentencing currently set for December 11, 2014

9    be continued to January 22, 2015, at 9:30 a.m. in accordance with the schedule

10   set forth above.

11   Dated: November 4, 2014
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                                 Troy L. Nunley
16                               United States District Judge
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                                                    3
                        Stipulation and Order Continuing Judgment and Sentencing
